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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
   ____________________________________
                                            )
   UNITED STATES OF AMERICA,                )
   ex rel. BARBARA BERNIER,                 )
                                            )
           Plaintiff,                       ) Case No. 6:16-cv-00970-RBD-TBS
                                            )
   v.                                       )
                                            )
   INFILAW CORPORATION, a Florida           )
   Corporation, and CHARLOTTE SCHOOL )
   OF LAW, LLC, a foreign limited liability )
   company,                                 )
                                            )
           Defendants.                      )
   ____________________________________)


      DEFENDANTS INFILAW CORPORATION AND CHARLOTTE SCHOOL
          OF LAW, LLC’S NOTICE OF SUPPLEMENTAL AUTHORITY

          Defendants InfiLaw Corporation and Charlotte School of Law, LLC

   (“Defendants”) file this Notice of Supplemental Authority to bring to the Court’s attention

   several decisions issued since the briefing closed on Defendants’ Motion to Dismiss

   Plaintiff Barbara Bernier’s Amended Complaint (Dkt. No. 53), and which are pertinent to

   the Court’s determination thereof:

          •   U.S. ex rel. Stepe v. RS Compounding LLC, 2018 WL 355151 (M.D. Fla. Jan.

              10, 2018) (dismissing relator’s complaint because allegations about claims

              submitted to the government were “overly vague,” she failed to identify any

              “specific claims” or false records or statements, and allegations about billing




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            practices relied on her status as an “insider” but contained no indicia of

            reliability about the billing department);

        •   U.S. ex rel. Ruckh v. Salus Rehabilitation, LLC, 2018 WL 375720 (M.D. Fla.

            Jan. 11, 2018) (entering judgment as matter of law for defendants and

            addressing Supreme Court’s decision in Universal Health Services, Inc. v.

            Escobar, 136 S. Ct. 1989 (2016));

        •   U.S. ex rel. Greenfield v. Medco Health Solutions, Inc., 2018 WL 473158 (3d

            Cir. Jan. 19, 2018) (affirming summary judgment for defendant where relator

            failed to link allegedly fraudulent scheme to specific false claim submitted to

            government);

        •   U.S. ex rel. Chase v. HPC Healthcare, Inc., 2018 WL 526039 (11th Cir. Jan.

            24, 2018) (affirming dismissal where, “although [she] details a scheme, her

            complaint does not include specific examples of the conduct she describes or

            allege the submission of any specific fraudulent claim. Nor does [relator] allege

            the basis of her knowledge of the defendants’ fraudulent billing practices—a

            process she was far removed from”); and

        •   U.S. ex rel. Petrowski v. Epic Sys. Corp., 2018 WL 1027147 (M.D. Fla. Feb. 6,

            2018) (dismissing relator’s complaint for “fail[ing] the most basic test for Rule

            9(b) particularity” where it provided no specifics “about the alleged

            representation, like whether it was oral or written, what it consisted of, who

            made it and to whom, when it was made, where it was made, what claim was




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            actually submitted to [the government], by whom it was submitted, or when it

            was submitted” and failing to establish her basis for personal knowledge).



   Dated: February 27, 2018                      Respectfully submitted,

                                                 /s/ David E. Mills
                                                 David E. Mills, Esq.
                                                 COOLEY LLP
                                                 1299 Pennsylvania Avenue
                                                 Washington, D.C. 20004
                                                 Tel: (202) 842-7800
                                                 Fax: (202) 842-7899
                                                 Email: dmills@cooley.com
                                                 Trial Counsel

                                                 Mazda K. Antia, Esq.
                                                 COOLEY LLP
                                                 4401 Eastgate Mall
                                                 San Diego, CA 92121
                                                 Tel: 858-550-6000
                                                 Fax: 858-550-6420
                                                 Email: mantia@cooley.com

                                                 Vincent A. Citro, Esq.
                                                 Florida Bar. No. 0468657
                                                 LAW OFFICES OF MARK L.
                                                 HORWITZ, P.A.
                                                 17 East Pine Street
                                                 Orlando, FL 32801
                                                 Tel: (407) 843-7733
                                                 Fax: (407) 849-1321
                                                 Email: vince@mlhorwitzlaw.com

                                                 Counsel for Defendants InfiLaw
                                                 Corporation and Charlotte School of Law,
                                                 LLC




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 27, 2018, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system which will send a

   notice of electronic filing to all counsel of record, including the following:


          Coleman W. Watson, Esq.
          Watson LLP
          189 S. Orange Avenue, Suite 810
          Wilmington, DE 19808

          Counsel for Plaintiff Barbara Bernier


          Jeremy Ronald Bloor
          US Attorney's Office
          Suite 3100
          400 W Washington St
          Orlando, FL 32801

          Counsel for United States of America




                                                          /s/ David E. Mills
                                                          David E. Mills, Esq.
                                                          Counsel for Defendants




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